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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Abdelrahman F. Bader
                                      Plaintiff,
v.                                                      Case No.: 1:18−cv−02169
                                                        Honorable Thomas M. Durkin
Southwest Credit Systems, L.P.
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, May 16, 2019:


        MINUTE entry before the Honorable Thomas M. Durkin: Pursuant to stipulation,
this action is hereby dismissed with prejudice. The 6/3/2019 status hearing is
stricken.Civil case terminated. Mailed notice(srn, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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